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                   F O R T H E W E S T E R N D I S T RI C T O F T E X A S
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J OE HO LC OM BE, et. al,              §         NO. 5: 18 -C V-00555 -XR
                                       §
Plaintiffs                             §    Consolidated with:
                                       §    5:18-cv-00712-XR (Vidal)
                                       §    5:18-cv-00881-XR (Uhl)
vs.                                    §    5:18-cv-00944-XR (Ramsey)
                                       §    5:18-cv-00949-XR (McNulty)
UN ITED S TATES O F                    §    5:18-cv-00951-XR (Wall)
AM ER IC A,                            §    5:18-cv-01151-XR (Amador)
                                       §    5:19-cv-00184-XR (Brown)
Defendant                              §    5:19-cv-00289-XR (Ward)
                                       §    5:19-cv-00506-XR (Workman)
                                       §    5:19-cv-00678-XR (Colbath)
                                       §    5:19-cv-00691-XR (Braden)
                                       §    5:19-cv-00706-XR (Lookingbill)
                                       §    5:19-cv-00714-XR (Solis)
                                       §    5:19-cv-00715-XR (McKenzie)
                                       §    5:19-cv-00805-XR (Curnow)
                                       §    5:19-cv-00705-XR (Workman)
                                       §    5:19-cv-00806-XR (Macias)




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AFOSIMAN 71-121 (Oct 10 to Mar 12)

AFOSIMAN 71-121 (Oct 12 to Feb 13)
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Attachment 3 - I2MS User Manual 465

Attachment 4- I2MS Fingerprinting Guide_465

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